                    THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF NORTH CAROLINA



    In re Application of KARAM SALAH AL
    DIN AWNI AL SADEQ and STOKOE
                                                      Misc. Civil Action No.
    PARTNERSHIP SOLICITORS for an
    Order Under 28 U.S.C. § 1782 to Conduct
    Discovery for Use in Foreign Proceedings.


                  MEMORANDUM OF LAW IN SUPPORT OF
        EX PARTE APPLICATION FOR AN ORDER UNDER 28 U.S.C. § 1782
        TO CONDUCT DISCOVERY FOR USE IN FOREIGN PROCEEDINGS

                            PRELIMINARY STATEMENT

         The applicants Karam Salah Al Din Awni Al Sadeq (“Mr. Al Sadeq”) and Stokoe

Partnership Solicitors (“Stokoe” and, together with Mr. Al Sadeq, the “Applicants”),

respectfully file this ex parte1 application (the “Application”) for an order under 28 U.S.C.

§ 1782 to conduct discovery for use in foreign proceedings.

         The requested relief is for the purpose of obtaining limited, but necessary,

discovery in aid of civil proceedings initiated by the Applicants and currently

pending in the High Court of Justice of England and Wales, Queen’s Bench Division


1
  This Court has discretion to grant applications pursuant to Section 1782 on an ex parte
basis. See In re Merck & Co., Inc., 197 F.R.D. 267, 270 (M.D.N.C. 2000); see In re Qwest
Commc’ns Int’l, Inc., No. 3:08mc93, 2008 WL 2741111, at *5 (W.D.N.C. July 10, 2008)
(“[T]he issuance of a subpoena based on an ex parte application will not prejudice the rights
of the subpoenaed party . . . . Issuance of the subpoena is but a first step in this process,
and allows for the subpoenaed party to challenge the subpoena under Rule 45, Federal
Rules of Civil Procedure, or appeal this Order to the district court upon a showing that its
issuance was clearly erroneous or contrary to law.”).




        Case 1:21-mc-00006-WO-LPA Document 2 Filed 02/05/21 Page 1 of 26
captioned: Karam Salah Al Din Awni Al Sadeq v. Dechert, LLP, Neil Gerrard, David

Hughes, and Caroline Black, Claim No. QB-2020-000322 (the “Al Sadeq

Litigation”), and Stokoe Partnership Solicitors v. Mr. Patrick Tristram Finucane

Grayson, Grayson + Co Limited, Mr. Stuart Robert Page, and Page Corporate

Investigations Limited, Claim No., QB-2020-002492 (the “Grayson Proceeding”

which together with the “Al Sadeq Litigation,” the “Foreign Proceedings”). Stokoe

was also the claimant in concluded High Court proceedings captioned Stokoe

Partnership Solicitors v. Mr. Paul Robinson, Company Documents Limited, and Mr.

Oliver Moon, Claim No. QB-2020-002218 (the “Robinson Proceeding” which,

together with the Grayson Proceeding are referred to as the “Hacking Claims”).

      In the Al Sadeq Litigation, Mr. Al Sadeq alleges that the defendants Dechert, LLP

(“Dechert UK”), Neil Gerrard (“Gerrard”), David Hughes (“Hughes”), and Caroline Black

(“Black), committed serious wrongs against him in the course of an investigation

undertaken by them, into alleged fraud committed by Dr. Khater Massaad (“Dr. Massaad”),

Mr. Farhad Azima (“Azima”) and others, including Mr. Al. Sadeq, against their former

employer, the RAK Investment Authority (“RAKIA”).           Al Sadeq has brought claims

against the defendants in the Al Sadeq Litigation for breaches of United Arab Emirates (the

“UAE”) criminal law and procedure, the UAE Constitution, and breach of his human rights

as a matter of UAE and international law, and has sought damages stemming from, inter




                                            2



      Case 1:21-mc-00006-WO-LPA Document 2 Filed 02/05/21 Page 2 of 26
alia, his severe psychological and physical harm, pain and suffering, financial losses, and

damage to reputation.

       Following the initiation of the Al Sadeq Litigation, Mr. Al Sadeq’s legal team,

which includes Stokoe Partnership Solicitors (a firm of UK based solicitors) and 4 Stone

Buildings (a UK based barristers’ chambers) and others assisting the legal team such as

Maltin Litigation Support Group (a legal public relations and litigation support group) and

Detained in Dubai (a human rights advocacy organization) (collectively “Mr. Al Sadeq’s

Legal and Support Team”), has become the target of an online hacking campaign. As is

relevant to this Application, Mr. Al Sadeq’s Legal and Support Team has been the victim

of a hacking campaign, which has included the use of spear-phishing emails and text

messages and a sophisticated cyber-attack of Stokoe’s IT system.

       In order to ascertain the identity of the individuals behind the hacking attempts and

to put a stop to their unlawful conduct, Stokoe initiated the Hacking Claims. The

individuals named as defendants in the Hacking Claims are engaged in the business of

corporate intelligence gathering and were instructed to obtain confidential information,

including financial records and banking information, regarding Mr. Al Sadeq’s Legal and

Support Team.

       The Applicants have reason to believe that the defendants in the Hacking Claims

were acting on behalf of RAKIA and/or the defendants in connection with the Al Sadeq

Litigation. This belief is premised on the fact that the timing of the hacking attempts

correlates with the timeline of the Al Sadeq Litigation and are targeted at Mr. Al Sadeq’s

                                             3



      Case 1:21-mc-00006-WO-LPA Document 2 Filed 02/05/21 Page 3 of 26
Legal and Support Team. Additionally, the Applicants have reason to believe that the

defendants in the Al Sadeq Litigation have engaged in similar unlawful information

gathering in related investigations undertaken by them on behalf of RAKIA.            The

Applicants further believe that these unlawful attempts to gather confidential information

from Mr. Al Sadeq’s Legal and Support Team are consistent with the pattern of human

rights abuses Mr. Al Sadeq alleges in his Claim and are further attempts to interfere with

Mr. Al Sadeq’s access to legal representation.

          Accordingly, Mr. Al Sadeq and Stokoe respectfully request leave of the Court to

subpoena Nicholas Del Rosso (“Del Rosso”) (an investigator who was engaged by one of

the defendants in the Al Sadeq litigation) and Vital Management Services Inc. (“Vital

Management”),2 in accordance with 28 U.S.C. § 1782 to obtain discovery for use in the

Foreign Proceedings.

         This Application meets the statutory requirements and discretionary factors

applicable to applications for discovery under 28 U.S.C. § 1782. As to the statutory

requirements, Mr. Al Sadeq and Stokoe seek discovery 1) from Del Rosso and Vital

Management which are both found within this District, 2) for use in proceedings (the

Foreign Proceedings), 3) that are pending in a foreign tribunal the (High Court of Justice

of England and Wales, Queen’s Bench Division), in which 4) Mr. Al Sadeq and Stokoe are

the claimants, and thus, interested parties.


2
    Upon information and belief, Del Rosso is the owner and president of Vital Management.

                                               4



        Case 1:21-mc-00006-WO-LPA Document 2 Filed 02/05/21 Page 4 of 26
      Additionally, as set forth in more detail below, the Application also satisfies each

of the discretionary factors the Supreme Court articulated in Intel Corp. v. Advanced Micro

Devices, Inc. in that 1) Del Rosso and Vital Management are not parties to the Foreign

Proceedings, 2) U.K. Courts are receptive discovery under Section 1782, 3) the Application

is not an attempt to circumvent the High Court of Justice of England and Wales, Queen’s

Bench Division’s proof-gathering requirements, and 4) the requested discovery is neither

unduly burdensome nor overly intrusive. Accordingly, as set forth in the proposed Order,

the discovery sought is limited in time and is narrowly tailored. The discovery requested

by Applicants will aid in proving their Claims in the Foreign Proceedings.

      As such, based on the foregoing and as set forth more fully below, Mr. Al Sadeq

and Stokoe respectfully submit that their Application for discovery under Section 1782

should be granted.

                             FACTUAL BACKGROUND

      The factual background of the disputes underlying the Foreign Proceedings is set

forth in detail in the Claims annexed to the Declaration of Haralambos Tsiattalou

(“Tsiattalou Decl.”) as Exhibit A, Exhibit H, Exhibit K, and Exhibit L. Those acts are

summarized below, as well as the need for the requested discovery.

The Al Sadeq Litigation

      Mr. Al Sadeq is a lawyer and Jordanian citizen who is a resident of the United Arab

Emirates. For the past six years, he has been incarcerated in RAK, one of the constituent

Emirates of the UAE, for alleged involvement in fraudulent transactions allegedly

                                            5



      Case 1:21-mc-00006-WO-LPA Document 2 Filed 02/05/21 Page 5 of 26
committed against his former employer, RAKIA. (Tsiattalou Decl. Ex. A, ¶ 1.). Mr. Al

Sadeq was employed by RAKIA from November 2008 and 2012, first as a legal advisor,

then Group Legal Director, and then Deputy Chief Executive Officer of RAKIA, reporting

to RAKIA’s then-CEO, Dr. Massaad. (Tsiattalou Decl. Ex. A, ¶ 35). Mr. Al Sadeq denies

any involvement in wrongdoing and maintains that the charges against him were politically

motivated on the part of the Ruler of Ras Al Khaimah (“RAK”) in an attempt to conceal

the Ruler’s own close involvement in RAKIA’s activities, and that he was convicted on

the basis of false confessions obtained from him under duress by the defendants in the Al

Sadeq Litigation. (Tsiattalou Decl. Ex. A, ¶ 1).

       Defendant Gerrard was at all material times a partner at the UK-based law firm

Dechert UK, where he is global co-head of Dechert’s white collar and securities litigation

practice. (Tsiattalou Decl. Ex. A, ¶ 4). Defendant Hughes was, at all material times, a

partner at Dechert UK, who worked closely with Gerrard. (Tsiattalou Decl. Ex. A, ¶ 5).

Defendant Black is and was at all material times, a Partner at Dechert UK specializing in

corporate investigations, working closely with Mr. Gerrard. (Tsiattalou Decl. Ex. A, ¶ 6).

       Mr. Gerrard was appointed to lead an investigation into alleged fraud committed by

Dr. Massaad against RAKIA. (Tsiattalou Decl. Ex. A, ¶¶ 8, 29). In the Claim, Mr. Al

Sadeq alleges that serious wrongs were committed against him by Mr. Gerrard, Mr.

Hughes, Ms. Black, and Dechert UK in relation to that investigation. (Tsiattalou Decl. Ex.

A, ¶ 8). In September 2014, Mr. Al Sadeq was abducted from outside of his family home

in Dubai and forcibly transported to RAK by men claiming to be from the RAK State

                                            6



      Case 1:21-mc-00006-WO-LPA Document 2 Filed 02/05/21 Page 6 of 26
Security Investigations. (Tsiattalou Decl. Ex. A, ¶¶ 43-45). Once in RAK, Mr. Al Sadeq

was placed in custody in solitary confinement, without having been arrested or told what

(if any) charges or allegations were being made against him; he was subjected to torture

and inhumane treatment while incarcerated in solitary confinement for around 560 days;

he was denied access to legal representation; his family was threatened; and he was forced

to sign false confessions under duress which were used in order to convict him and to

implicate others including Dr. Massaad. (Tsiattalou Decl. Ex. A, ¶¶ 33, 48). These abuses

are alleged to have been orchestrated by Gerrard with the assistance of the other defendants.

(Tsiattalou Decl. Ex. A, ¶¶ 33, 47). During his detention, Mr. Al Sadeq was interrogated

several times by Gerrard, assisted by the other defendants, in an aggressive fashion, was

pressured by threats and false promises to “cooperate” by giving false information to

implicate Dr. Massaad, as well as other alleged co-conspirators, including Mr. Jihad

Quzmar (“Mr. Quzmar”), Mr. Gela Mikadze (“Mr. Mikadze”), and Mr. Farhad Azima

(“Mr. Azima”), with respect to fraud perpetrated in connection with RAKIA, and was

coerced to sign false confessions. (Tsiattalou Decl. Ex. A, ¶¶ 51, 61-67, 98, 114, 118-132,

173-175, 178-184).

       As a result of such wrongs alleged to have been perpetrated by the defendants, Mr.

Al Sadeq brought claims for breaches of UAE criminal law and procedure, the UAE

Constitution, and breach of his human rights as a matter of UAE and international law, and

has sought damages stemming from, inter alia, his severe psychological and physical harm,



                                             7



      Case 1:21-mc-00006-WO-LPA Document 2 Filed 02/05/21 Page 7 of 26
pain and suffering, financial losses, and damage to reputation. (Tsiattalou Decl. Ex. A, ¶¶

9, 220-229, 294-299).

The Hacking Proceedings

       Stokoe Partnership Solicitors was retained to represent Mr. Al Sadeq in October

2019. (Tsiattalou Decl. ¶ 7). Although the claim form filed in connection with the Al

Sadeq Litigation was not served until March 2020, the fact of its issue and its contents,

including Stokoe’s representation of Mr. Al Sadeq, were made public by an article

published by Detained in Dubai in February 2020. (Tsiattalou Decl. ¶ 9).

       As set forth in detail in the accompanying Tsiattalou Decl., following the initiation

of the Al Sadeq Litigation, in February and March 2020, Stokoe Solicitor, Haralambos

Tsiattalou (“Mr. Tsiattalou”) and other individuals associated with Mr. Al Sadeq’s Legal

and Support Team travelled to Dubai to meet with Mr. Al Sadeq. (Tsiattalou Decl. ¶¶ 10-

11). During the course of those visits, members of Mr. Al Sadeq’s Legal and Support Team

found themselves subjected to intimidation and surveillance by individuals they believed

to be involved with RAKIA and the Al Sadeq Litigation defendants, including a Mr. Stuart

Page who Mr. Tsiattalou observed in the lobby of his hotel during one of these visits.

(Tsiattalou Decl. ¶ 11-12). It is believed that this surveillance was an attempt to intimidate

Mr. Al Sadeq’s Legal and Support Team and impede Mr. Al Sadeq’s access to legal

representation.

       In late March 2020, Oliver Moon (“Mr. Moon”), a private investigator, approached

Alexander Sawyer (“Mr. Sawyer”) of Quaestio Intelligence Services Ltd. (“Quaestio”), a

                                              8



      Case 1:21-mc-00006-WO-LPA Document 2 Filed 02/05/21 Page 8 of 26
commercial investigation and intelligence gathering agency working on behalf of Stokoe,

and informed Mr. Sawyer that he had been instructed to obtain confidential information

regarding Stokoe. (Tsiattalou Decl. ¶ 13). Mr. Moon revealed that he received instructions

from John Gunning, who it was later uncovered was instructed by Paul Robinson (“Mr.

Robinson”) on April 2, 2020, to obtain, amongst other items, Stokoe’s banking coordinates;

on April 9, 2020, to obtain access to Stokoe’s business bank account and transactional data

for that bank account for the preceding three months; on April 21, 2020, to obtain

information as to the movements of Mr. Tsiattalou in and out of Dubai for the period of

February 2020; and on April 22, 2020, to provide information relating to Stokoe’s client

account including transactional information for the month of March 2020. (Tsiattalou

Decl. ¶¶ 13, 34). Through Mr. Moon, Stokoe also learned that others working on behalf of

Mr. Al Sadeq in the Al Sadeq Litigation, including Maltin Litigation Support Group and

Detained in Dubai, were also targets of these information gathering efforts. (See Tsiattalou

Decl. ¶¶ 14, 44). Based on this information, Stokoe initiated a civil proceeding on June

30, 2020, in the High Court of Justice of England and Wales, Queen’s Bench Division,

captioned Stokoe Partnership Solicitors v. Paul Robinson, Company Documents Ltd, and

Oliver Moon, Claim No. QB-2020-00218 (the “Robinson Proceeding”).

       As part of a Consent Order issued in the Robinson Proceeding, Mr. Moon and Mr.

Robinson issued sworn affidavits admitting that they were instructed to access, and did

access, Stokoe’s banking information and transactional data as well as confidential

information relating to others involved in the Al Sadeq Litigation. (See Tsiattalou Decl. ¶

                                             9



      Case 1:21-mc-00006-WO-LPA Document 2 Filed 02/05/21 Page 9 of 26
37, Ex. J). In Mr. Robinson’s affidavit, he stated that Patrick Grayson instructed him to

obtain confidential information from Mr. Al Sadeq’s Legal and Support Team. (Tsiattalou

Decl. ¶ 37, Ex. K ¶ 8).

       Based on the information Mr. Robinson provided in his affidavit, Stokoe initiated a

second civil proceeding on July 17, 2020, in the High Court of Justice of England and

Wales, Queen’s Bench Division, captioned Stokoe Partnership Solicitors v. Mr. Patrick

Tristram Finucane Grayson, Grayson + Co. Limited, Mr. Stuart Robert Page, and Page

Corporate Investigations Limited, Claim No. QB-2020-002492 (the “Grayson

Proceeding”). In the Grayson Proceeding, Stokoe sought, inter alia, an order to compel

Mr. Grayson and his company to reveal the source of their instructions, any further

wrongdoing, and to obtain injunctive relief to prevent them from further wrongdoing.

(Tsiattalou Decl. ¶ 39). Pursuant to the Court’s order, Mr. Grayson submitted an affidavit

wherein he denied ever obtaining confidential information regarding Stokoe and denied

ever instructing Mr. Robinson to obtain such confidential information—assertions that

were in stark contradiction to the facts set forth in Mr. Robinson’s affidavit. (Tsiattalou

Decl. ¶¶ 41-42, Ex. O, ¶ 4.1).

       Through the initiation of the Hacking Claims, Stokoe is attempting to ascertain the

identity of the individuals who are orchestrating the hacking campaign against Mr. Al

Sadeq’s Legal and Support Team. While Stokoe has identified some of the individuals

who were involved, the identity of the ultimate perpetrators remains unknown. Thus, Mr.

Al Sadeq’s Legal and Support Team remains a target of this coordinated hacking campaign

                                            10



     Case 1:21-mc-00006-WO-LPA Document 2 Filed 02/05/21 Page 10 of 26
which has continued throughout the pendency of the Foreign Proceedings and threatens to

undermine the fair conduct of the Al Sadeq Litigation, as well as the confidentiality and

relationship between Mr. Al Sadeq and his legal team and to further impinge upon the

rights of Mr. Al Sadeq.

       The threat posed to Mr. Al Sadeq’s Legal and Support Team by the hacking

campaign is ongoing and continues to threaten their ability to effectively represent Mr. Al

Sadeq. For example, at approximately 5:45 a.m. on November 5, 2020, just days before a

hearing in the High Court was scheduled in the Robinson and Grayson Proceedings,

hackers broke into Stokoe’s cloud-based IT system which the firm uses to conduct its day-

to-day business.    (Tsiattalou Decl. ¶ 45). By approximately 8:45 a.m., Stokoe’s IT

provider was able to take measures to protect Stokoe’s data and that of ten other law firms

potentially affected. (Tsiattalou Decl. ¶ 45). Consequently, Stokoe was unable to gain

access to their IT system until November 9, 2020. (Tsiattalou Decl. ¶ 45). During the time

that the IT system was down, Stokoe faced significant impediments in carrying out their

day-to-day business activities, including the inability to receive emails on their work

addresses. (Tsiattalou Decl. ¶ 45). Stokoe was informed by its IT provider that after

evaluating the password used to orchestrate the hacking, it determined that the hacking was

linked specifically to Stokoe (rather than any of the ten other law firms affected), and that

Stokoe’s financial material and banking data were accessed. (Tsiattalou Decl. ¶ 45).




                                             11



     Case 1:21-mc-00006-WO-LPA Document 2 Filed 02/05/21 Page 11 of 26
       Given the ongoing nature of the hacking attempts and spear-phishing emails, it is

essential that the ultimate perpetrators are identified in order for Stokoe to protect its

clients, including Mr. Al Sadeq.

The Discovery Sought

       The Foreign Proceedings are ongoing, and Mr. Al Sadeq and Stokoe are engaged in

the process of seeking information and documents to support their Claims. The parties

from whom discovery is sought are Del Rosso and Vital Management, both of which are

found in the United States.

       As set forth in detail in the accompanying Tsiattalou Declaration and above, since

the initiation of the Al Sadeq Litigation, Mr. Al Sadeq’s Legal and Support Team has been

the subject of a hacking and surveillance campaign believed to be by or at the direction of

the defendants in the Al Sadeq Litigation. (Tsiattalou Decl. ¶¶ 10-14, 41, 43, 44). Mr. Al

Sadeq’s Legal and Support Team has received numerous phishing emails which appear to

be targeted attempts to access personal and confidential information. (Tsiattalou Decl. ¶¶

43-44). The Applicants have reason to believe that the defendants in the Al Sadeq

Litigation are behind this hacking campaign as the timeline of these attempts align with the

initiation of the Al Sadeq Litigation, and the individuals targeted are all connected to the

Al Sadeq Litigation.

       Upon information and belief, the defendants have engaged in the same improper

information gathering in connection with other investigations they conducted on behalf of

RAKIA. Specifically, Gerrard worked with Stuart Page, a private investigator, who was

                                            12



     Case 1:21-mc-00006-WO-LPA Document 2 Filed 02/05/21 Page 12 of 26
accused of engaging in unlawful hacking in related proceedings involving Mr. Azima

before the High Court of Justice Business and Property Courts of England and Wales

Business List (ChD) entitled Ras Al Khaimah Investment Authority v. Farhad Azima, Case

No. HC-2016-002798 (the “Azima Proceeding”). (See Tsiattalou Decl. ¶¶ 20, 31). During

a hearing in that proceeding, Mr. Page testified that in the course of his investigation into

collusion between Dr. Massaad and members of the Ruler’s family, he utilized the services

of Insight, an Israeli company who “were specialists at obtaining information from

confidential sources” engaged in gathering electronic data which included “using the dark

web, open source information on the internet.” (Tsiattalou Decl. Ex. B, ¶ 269). Of note

was Gerrard’s testimony that the information, which formed the basis of the fraud

accusations RAKIA brought against Mr. Azima, was obtained through hacking into Mr.

Azima’s personal accounts. (Tsiattalou Decl. Ex. C, p. 69-70).

       Del Rosso submitted a witness statement in connection with the Azima Proceeding,

wherein he stated that in early August 2016, he received a phone call from Gerrard

informing him that Stuart Page had identified two internet links containing data related to

Mr. Azima. (Tsiattalou Decl. Ex. D, ¶ 5). Del Rosso stated that he was familiar with

Gerrard because in 2014, he was engaged by Dechert LLP “to investigate assets potentially

stolen from the Government of” RAK by Dr. Massaad and others. (Tsiattalou Decl. Ex.

D, ¶ 4). Del Rosso further claimed that Gerrard simply asked him to download the data

from those two links. (Tsiattalou Decl. Ex. D, ¶ 6). Following the call with Gerrard, Del



                                             13



     Case 1:21-mc-00006-WO-LPA Document 2 Filed 02/05/21 Page 13 of 26
Rosso contacted Richard Garcia of Northern Technology, Inc. (“NTi”),3 and over the

course of the next few weeks NTi downloaded the material. (Tsiattalou Decl. Ex. D, ¶¶ 5-

7, 9). Del Rosso maintained that he played no other role in the investigation into Mr.

Azima, stating: “I did not hack Mr. Azima’s computers, cause him to be hacked or know

who hacked him. I did not upload his data to the internet, cause his data to be uploaded or

know who did upload his data.” (Tsiattalou Decl. Ex. D, ¶ 20). In his testimony, Del Rosso

maintained that he had no knowledge that Mr. Azima’s data found on the websites was

illegally obtained. (Tsiattalou Decl. Ex. E, pp. 93-94).

       On October 15, 2020, Mr. Azima filed a complaint against Del Rosso and Vital

Management in this Court, alleging, inter alia, that Del Rosso through Vital Management

oversaw and directed the hacking of Mr. Azima’s personal information. (Tsiattalou Decl.

Ex. F, p. 1); see Farhad Azima v. Nicholas Del Rosso and Vital Management Services Inc.,

No. 20-cv-954 (M.D.N.C. Oct. 15, 2020) (the “Del Rosso Lawsuit”). Mr. Azima further

alleges that after Gerrard engaged Del Rosso, Del Rosso hired CyberRoot Risk Advisory

Private Limited (“CyberRoot”) to provide the necessary technical support to carry out the

hack against Mr. Azima. (Tsiattalou Decl. Ex. F, pp. 1-2). The complaint further alleges




3
 According to their website, NTi “was founded in an effort to maximize the exploitation
of modern data to include, communication records, social media, deep/dark web, etc. NTi
has developed and implemented specialized investigative and analytical techniques on
hundreds      of   criminal    and     civil    cases.”        Who  is   NTi?,     NTI,
http://ntilawenforcement.org/about/ (last visited Jan. 19, 2021).

                                             14



     Case 1:21-mc-00006-WO-LPA Document 2 Filed 02/05/21 Page 14 of 26
that CyberRoot utilized the services of BellTroX Info Tech Services (“BellTroX”)4 to assist

in hacking Mr. Azima’s personal accounts. (Tsiattalou Decl. Ex. F, p. 2). Lastly, Mr.

Azima asserts that Del Rosso paid CyberRoot over $1 million for its services. (Tsiattalou

Decl. Ex. F, p. 9).

       A whistleblower who is employed by CyberRoot and who has legitimate access to

the company’s bank account has provided copies of what the Applicants believe are

CyberRoot’s bank account statements with Kotak Mahindra Bank. (See Tsiattalou Decl. ¶

32; Ex. G). These bank statements evidence approximately 31 payments made by Vital

Management to CyberRoot between the years 2015 through 2017. (Tsiattalou Decl. Ex.

G). Of significance is that in August and September 2016, the time during which Mr.

Azima’s data was leaked online, Vital Management paid CyberRoot nearly $150,000.

(Tsiattalou Decl. Ex. G). The Applicants have reason to believe that these significant

payments suggest that Del Rosso hired CyberRoot to access Azima’s confidential

information.




4
  BellTroX is a hack-for-hire organization based in India which has been linked to the
hacking of thousands of targets through the use of hacking techniques, such as, phishing
emails. John Scott-Railton et al., Dark Basin: Uncovering a Massive Hack-For-Hire
Operation, THE CITIZEN LAB (June 9, 2020), https://citizenlab.ca/2020/06/dark-basin-
uncovering-a-massive-hack-for-hire-operation/; see Jack Stubbs et al., Exclusive: Obscure
Indian Cyber Firm Spied on Politicians, Investors Worldwide, REUTERS (June 9, 2020),
https://www.reuters.com/article/us-india-cyber-mercenaries-exclusive/exclusive-obscure-
indian-cyber-firm-spied-on-politicians-investors-worldwide-idUSKBN23G1GQ.

                                            15



      Case 1:21-mc-00006-WO-LPA Document 2 Filed 02/05/21 Page 15 of 26
       Thus, contrary to Del Rosso’s testimony and witness statement, the Applicants

believe that Del Rosso, at the direction of the defendants in the Al Sadeq Litigation, utilized

the services of “hack-for-hire” organizations to hack Mr. Azima’s personal accounts and

obtain his personal information. It is believed that Mr. Al Sadeq’s Legal and Support Team

are being subjected to the same improper information gathering techniques that the

defendants employed in their investigations of Mr. Azima, including the use of hack-for-

hire companies. (See Tsiattalou Decl. ¶¶ 17, 22, 24, 32).

       Mr. Al Sadeq’s Legal and Support Team has been the target of numerous phishing

attempts via email, SMS message, and phone calls directed at their email addresses5 and

phone numbers from various online accounts. (Tsiattalou Decl. ¶¶ 43-44). Mr. Al Sadeq

and Stokoe have reason to believe that the individuals behind these hacking attempts are

associated with the defendants in the Al Sadeq Litigation. This belief is grounded in the

fact that these attempts all appear in some way to correspond to the Al Sadeq Litigation.

(Tsiattalou Decl. ¶ 45). In particular, the hacking attempts target Mr. Al Sadeq’s Legal and




5
  The Applicants filed an ex parte application pursuant to Section 1782 in the United States
District Court Northern District of California on December 22, 2020. In re Application of
Karam Salah Al Din Awni Al Sadeq and Stokoe Partnership Soliticitors for an Order Under
28 U.S.C. § 1782 to Conduct Discovery for Use in Foreign Proceedings, No. 3:20-mc-
80224 (Dec. 22, 2020). In that application, Applicants seek the issuance of subpoenas
directed at Google, Cloudflare, Ngrok, and Twilio SendGrid for documents and
information concerning the subscriber information and IP information of accounts which
were used in various phishing attempts to hack Mr. Al Sadeq’s Legal and Support Team’s
accounts and confidential information. As of the filing of this application, that application
remains pending.

                                              16



      Case 1:21-mc-00006-WO-LPA Document 2 Filed 02/05/21 Page 16 of 26
Support Team, and the attempts began on or about February 2020 when information about

the claim of form and Stokoe’s representation of Mr. Al Sadeq became public. (See

Tsiattalou Decl. ¶ 45).

       In addition, the hacking attempts are consistent with the manner in which the Al

Sadeq Litigation defendants and RAKIA have investigated alleged fraud committed by Dr.

Massaad, Mr. Mikadze, and Mr. Azima, and it appears that the same individuals involved

in those investigations—Page, Robinson, and Del Rosso—are also involved in the

investigation and hacking of Mr. Al Sadeq’s Legal and Support Team. This belief is based

in part on several invoices that were sent to Stokoe from Mr. Page’s attorney in connection

with the Hacking Proceedings. (See Tsiattalou Decl. ¶ 38). These invoices were from

Company Documents Limited, an entity owned by Robinson, and directed to Mr. Page.

(Tsiattalou Decl. ¶ 38). One of the invoices showed that in March 2020, when the Al Sadeq

Litigation commenced, Robinson sent an invoice for an investigation into the Brendale

Group. (Tsiattalou Decl. ¶ 38). The Brendale Group is a group of companies owned by

David Haigh who once worked closely with Radha Stirling (“Ms. Stirling”) of Detained in

Dubai. (Tsiattalou Decl. ¶ 38). Thus, it is believed that this invoice provides proof of Mr.

Page’s and Mr. Robinson’s efforts to gather information regarding Ms. Stirling through

one of her associates, Mr. Haigh. (Tsiattalou Decl. ¶ 38). An earlier invoice dated October

4, 2017 shows that Mr. Page instructed Robinson to investigate various companies—all of

which were part of a group of companies that were involved in RAKIA’s case against Mr.

Mikadze. (Tsiattalou Decl. ¶ 38). These companies were all connected to Mr. Mikadze

                                            17



     Case 1:21-mc-00006-WO-LPA Document 2 Filed 02/05/21 Page 17 of 26
who was also investigated in connection with Dr. Massaad by Gerrard at the direction of

RAKIA. (Tsiattalou Decl. ¶ 38). This invoice shows that Page and Robinson were

involved in investigating companies that were part of RAK’s investigation into Dr.

Massaad. (Tsiattalou Decl. ¶ 38). The invoices and the evidence set forth in the Azima

Proceeding, establish a common theme and pattern and provide a strong inference that the

same people who were involved in carrying out the investigations into Dr. Massaad, Mr.

Azima, and Mr. Mikadze for RAK are the same people involved in the investigation and

hacking of Mr. Al Sadeq’s Legal and Support Team.

       Accordingly, upon information and belief, Del Rosso and Vital Management are in

possession of materials, documents, and information which would aid the Applicants in

determining the identity of those behind the hacking campaign targeting Mr. Al Sadeq’s

Legal and Support Team and would show that the testimony provided by Del Rosso and

Gerrard in the Azima Proceeding was false and was directed at concealing the true manner

in which Mr. Azima’s confidential information was obtained. (See Tsiattalou Decl. ¶ 32).

Such information would shed further light on defendants’ continued human rights abuses,

their willingness to go to any length to conceal their unlawful conduct, including providing

false testimony and evidence, and attempts to interfere with Mr. Al Sadeq’s legal

representation, which will provide evidence germane to Mr. Al Sadeq’s and Stokoe’s

Claims in the Foreign Proceedings.

       Thus, Mr. Al Sadeq and Stokoe seek leave to serve the subpoenas annexed to the

Merritt Declaration as Exhibit A and Exhibit B, in which Mr. Al Sadeq and Stokoe seek,

                                            18



     Case 1:21-mc-00006-WO-LPA Document 2 Filed 02/05/21 Page 18 of 26
inter alia, documents and information concerning Del Rosso’s and Vital Management’s

involvement with CyberRoot, BellTroX, and the defendants in the Al Sadeq Litigation as

it relates to their investigations of Mr. Azima and Mr. Al Sadeq.

                                       ARGUMENT

        Mr. Al Sadeq and Stokoe respectfully submit that this Court should grant the

Application because: (1) it meets the statutory requirements set forth in Section 1782 (i.e.,

the person and entity from whom discovery is sought reside in the district to which the

application is made, the discovery is for use in proceedings before a foreign tribunal and

the applicants are “interested persons”); and (2) the discretionary factors established by

controlling case law weigh substantially in its favor (e.g., whether (a) the target of

discovery is a participant in the foreign proceedings, (b) the foreign tribunal is receptive to

the use of the Requested Discovery, (c) the request is an attempt to circumvent foreign law,

and (d) the request is unduly burdensome). Granting the Application will serve Section

1782’s “twin aims of providing efficient assistance to participants in international litigation

and encouraging foreign countries by example to provide similar assistance to [U.S.]

courts.” Intel Corp. v. Advanced Micro Devices, Inc., 542 U.S. 241, 252 (2004) (internal

quotations and citation omitted).

   I.      THE APPLICATION MEETS THE STATUTORY REQUIREMENTS

        Federal courts may grant discovery within the United States for use in a foreign

proceeding, under 28 U.S.C. § 1782(a), which requires “(1) the applicant is an interested

person, (2) the discovery production is for use in a proceeding, and (3) the person at whom

                                              19



        Case 1:21-mc-00006-WO-LPA Document 2 Filed 02/05/21 Page 19 of 26
the order is directed resides in the district where the motion was filed.” RF Micro Devices,

Inc. v. Xiang, No. 1:12CV967, 2013 WL 12136502, at *1 (M.D.N.C. Nov. 4, 2013).

       To satisfy the first statutory requirement, Applicants must establish that Del Rosso

and Vital Management “reside” or are “found” in the Middle District of North Carolina.

Del Rosso resides in Chapel Hill, North Carolina, and Vital Management maintains its

principal office in Chapel Hill, North Carolina which is in this District. Thus, because Del

Rosso resides in this District and Vital Management maintains its principal office and

conducts substantial activities that are central to its business in this District, the first

statutory requirement is satisfied.

       Turning to the second statutory requirement, an applicant must also demonstrate

that the requested discovery “is for use in a proceeding in a foreign or international

tribunal.” 18 U.S.C. § 1782. The Applicants believe that Del Rosso and Vital Management

are in possession of relevant documents, materials, and information which will aid in

determining the identity of the perpetrators behind the hacking campaign targeting Mr. Al

Sadeq’s Legal and Support Team and lend support to Mr. Al Sadeq’s claims of human

rights abuses against the defendants. Thus, the requested discovery will support the

Applicants’ Claims in the Foreign Proceedings. Accordingly, because the discovery Mr.

Al Sadeq and Stokoe seek is for use in the Foreign Proceedings, the Application satisfies

the second statutory requirement.

       Lastly, Mr. Al Sadeq and Stokoe qualify as “interested persons” under Section 1782

due to their status as litigants (i.e., the Claimants) in the Foreign Proceedings. See RF

                                            20



      Case 1:21-mc-00006-WO-LPA Document 2 Filed 02/05/21 Page 20 of 26
Micro Devices, Inc., 2013 WL 12136502, at *2 (finding that applicant was an “interested

party” because it was the “Plaintiff in the parallel Chinese lawsuit”); In re Merck & Co.,

197 F.R.D. 267, 270 (M.D.N.C. 2000) (“An interested person includes a party to the

foreign litigation, whether directly or indirectly involved.”). As the Supreme Court

acknowledged in Intel Corp. v. Advanced Micro Devices, Inc., “no doubt litigants are

included among, and may be the most common example of, the interested persons who

may invoke [Section] 1782.” 542 U.S. 241, 256 (2004). Thus, the third statutory

requirement is satisfied.

   II.      THE DISCRETIONARY FACTORS WEIGH IN FAVOR OF MR. AL
            SADEQ’S AND STOKOE’S APPLICATION

         The discretionary factors set out by the Supreme Court in the seminal Intel Corp.

decision and its progeny also weigh in favor of granting the Application. These factors

include: (1) “whether the person from whom discovery is sought is a participant in the

foreign proceeding”; (2) “the nature of the foreign tribunal, the character of the proceedings

underway abroad, and the receptivity of the foreign government or the court or agency

abroad to U.S. federal-court judicial assistance”; (3) “whether the § 1782(a) request

conceals an attempt to circumvent foreign proof-gathering restrictions or other policies of

a foreign country or the United States”; and (4) “whether the request is otherwise unduly

intrusive or burdensome.” Intel Corp., 542 U.S. at 264-65.




                                             21



     Case 1:21-mc-00006-WO-LPA Document 2 Filed 02/05/21 Page 21 of 26
       A.     Del Rosso and Vital Management Are Not Participants in the Foreign
              Proceeding

       Where, as here, discovery is sought from parties not participating in the foreign

proceeding, the need for court-ordered discovery is apparent. “A foreign tribunal has

jurisdiction over those appearing before it and can itself order them to produce evidence.

In contrast, nonparticipants in the foreign proceeding may be outside the foreign tribunal’s

jurisdictional reach; hence, their evidence, available in the United States, may be

unobtainable absent § 1782(a) aid.” Intel Corp., 542 U.S. at 264 (internal citations

omitted). Accordingly, where the target of discovery is not a party to the underlying

litigation, this factor weighs in favor of granting the application. As such, because Del

Rosso and Vital Management are not parties to the Foreign Proceedings, this factor weighs

in favor of granting the Application.

       B.     The Foreign Tribunal Is Receptive to U.S. Judicial Assistance

       The second discretionary factor identified by the Supreme Court—the nature of the

foreign proceeding and the receptivity of the foreign tribunal to federal court assistance—

requires courts to consider “how a foreign court ‘might respond to § 1782 assistance from

a United States court.’” Chevron Corp., No. 7:10-mc-00067, 2010 WL 4883111, at *3

(W.D. Va. Nov. 24, 2010) (quoting In re OOO Promnefstroy, No. M 19-99 (RJS), 2009WL

3335608, at *7 (S.D.N.Y. Oct. 15, 2009)). In weighing these factors, courts may only rely

on “authoritative proof that [the] foreign tribunal would reject evidence obtained with the

aid of section 1782.” Chevron Corp., 2010 WL 4883111 at *3 (emphasis added) (quoting


                                            22



     Case 1:21-mc-00006-WO-LPA Document 2 Filed 02/05/21 Page 22 of 26
Euromepa S.A. v. R. Esmerian, Inc., 51 F.3d 1095, 1100 (2d Cir. 1995)). In fact, district

courts have routinely granted applications pursuant to Section 1782 for matters pending in

the U.K. See Eurasian Natural Res. Corp. v. Simpson, No. 8:19-mc-00699-PX, 2020 U.S.

Dist. LEXIS 1507 (D. Md. Jan. 6, 2020); In re Blue Oil Trading Ltd., No. 3:09MC153-

RJC, 2009 WL 3353293 (W.D.N.C. Oct. 15, 2009); In re Application of Apple Retail UK

Ltd., No. 20-mc-80109-VKD, 2020 WL 3833392 (N.D. Cal. July 8, 2020) (finding that

“[i]n the absence of evidence to the contrary regarding the [U.K.] tribunal’s receptivity to

U.S. judicial assistance” the second Intel Corp. factor weighed in favor of granting the

Section 1782 application).   Here, there is no evidence that the discovery sought in this

application would be “rejected” by the Courts of England and Wales. Nor is there any

indication that the documents and materials sought would be inadmissible in the Foreign

Proceeding. To the contrary, the documents, materials, and information sought from Del

Rosso and Vital Management concern potential evidence that would serve to support Mr.

Al Sadeq’s claims of misconduct perpetrated by the defendants. Specifically, it would

support Mr. Al Sadeq’s claim that the defendants engaged, and continue to engage, in a

pattern of human rights abuses, have provided false evidence and testimony in related

proceedings to conceal their unlawful conduct, and are actively interfering with Mr. Al

Sadeq’s right to legal representation. Given their relevance to the proceedings, the

Applicants have good reason to believe that these documents, materials, and information

could, and would, be considered. Thus, this factor weighs in favor of granting the

Application.

                                            23



     Case 1:21-mc-00006-WO-LPA Document 2 Filed 02/05/21 Page 23 of 26
       C.     The Application Does Not Circumvent the Rules of the Foreign
              Tribunals

       The Application does not “attempt to circumvent” proof-gathering restrictions of

the Courts of England and Wales. See Intel Corp., 542 U.S. at 264-25. Under this third

factor, courts may consider “whether the discovery is being sought in bad faith.” Chevron

Corp., 2010 U.S. Dist. LEXIS 125174, at *10 (citing Minatec Fin. S.A.R.L. v. SI Group.

Inc., No. 1:08-CV-269 (LEK/RFT), 2008 WL 3884374, at *8 (N.D.N.Y. Aug. 18, 2008)

(finding the third Intel Corp. factor satisfied where “nothing [in the] record . . . support[ed]

that Minatec [sought] th[e] information with less than a good faith belief that § 1782

discovery would be helpful to the foreign tribunals and itself”)). The third factor also

weighs in favor of granting the requested discovery, as this application is made in good

faith and not an attempt to circumvent any foreign proof-gathering restrictions and there is

no evidence to suggest that the United Kingdom’s courts prohibit the type of discovery

sought.

       D.     The Application Is Tailored to Avoid Unnecessary Burdens in
              Accordance with the Federal Rules of Civil Procedure

       Finally, the fourth factor favors granting the requested discovery because the

Application is narrowly tailored to include only relevant information and to avoid any

undue burden. In evaluating this factor, a District Court should be guided by the standards

set forth in Federal Rule of Civil Procedure 26(b)(1) (“Rule 26(b)(1)”). See, e.g., German

Am. Trade Ass’n v. Waldthausen, No. 3:13-MC-015-MOC-DCK, 20136843081, at

*2 (W.D.N.C. Dec. 27, 2013) (applying Federal Rule of Civil Procedure 26(b)(1) to a

                                              24



      Case 1:21-mc-00006-WO-LPA Document 2 Filed 02/05/21 Page 24 of 26
motion to compel production of documents pursuant to a Section 1782 application). Under

Rule 26(b)(1), discovery must be “relevant to any party’s claim or defense, proportional to

what is at issue in a case; and not excessively burdensome or expensive as compared to the

likely benefit of obtaining the discovery being sought.” Synder v. Moag & Co., LLC, No.

ELH-20-2705, 2020WL 7399476, at *2 (D. Md. Dec. 17, 2020). Where requests are

“narrowly tailored to produce information relevant to the issues now pending” in the

foreign tribunal, the requests do not impose an undue burden. Chevron Corp. v. Camp,

No. 17-mc-80067-HRL, 2017 3418394, at *5 (W.D.N.C. Aug. 30, 2010); In re Qwest

Commc’ns Int’l, Inc., No. 3:08mc93, 2008 WL 2741111, at *5 (W.D.N.C. July 10, 2008).

      The requested discovery directly bears on Mr. Al Sadeq’s and Stokoe’s claims that

the defendants have engaged in a hacking campaign to gather confidential information

regarding Mr. Al Sadeq’s Legal and Support Team and that this conduct is part and parcel

of the Al Sadeq Litigation defendants’ ongoing human rights abuses and attempts to thwart

Mr. Al Sadeq’s access to legal representation. Thus, the requested discovery is highly

relevant to the Foreign Proceedings.

      Furthermore, the requested discovery would not be unduly burdensome for Del

Rosso and Vital Management to produce, as the requests are narrowly tailored in scope and

should be readily identifiable and accessible.      Because the discovery requests are

sufficiently specific to allow Del Rosso and Vital Management to conduct targeted

searches to identify and produce the documents, materials, and information, which are

relevant to the claims in the Foreign Proceedings, with minimal burden, the Application

                                            25



     Case 1:21-mc-00006-WO-LPA Document 2 Filed 02/05/21 Page 25 of 26
comports with the Federal Rules of Civil Procedure and this fourth factor weights in favor

of granting the Application.

                                    CONCLUSION

      Based on the foregoing, the Applicants respectfully request that the Court issue an

Order granting the Application and authorizing the Applicants to serve the subpoenas

attached as Exhibit A and Exhibit B to the Merritt Declaration upon Del Rosso and Vital

Management.



        This 5th day of February, 2021.
                                             /s/ Mark W. Merritt
                                             Mark W. Merritt
                                             N.C. Bar No. 12198
                                             mmerritt@robinsonbradshaw.com

                                             ROBINSON, BRADSHAW & HINSON, P.A.
                                             101 N. Tryon St., Suite 1900
                                             Charlotte, North Carolina 28246
                                             Telephone: 704.377.2536
                                             Facsimile: 704.378.4000

                                             Attorneys for Applicant Karam Salah Al
                                             Din Awni Al Sadeq and Stokoe
                                             Partnership Solicitors




                                           26



     Case 1:21-mc-00006-WO-LPA Document 2 Filed 02/05/21 Page 26 of 26
